         Case
          Case2:13-cr-00257-APG-PAL
                2:13-cr-00257-LDG-PAL Document
                                      Document185  Filed05/29/15
                                               183 Filed 06/03/15 Page
                                                                   Page  1 of
                                                                       1 of 54




 1

 2

 3

 4

 5

 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 2:13-CR-257-LDG-(PAL)
                                                      )
11 REBECCA ROSAS,                                     )
   a.k.a. “India”,                                    )
12                                                    )
                           Defendant.                 )
13

14                      SECOND AMENDED FINAL ORDER OF FORFEITURE

15           The United States District Court for the District of Nevada entered a Preliminary Order of

16 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2) and Title 21, United States Code, Section

17 853(a)(1) and (a)(2) based upon the plea of guilty by defendant REBECCA ROSAS, a.k.a. “India”, to

18 the criminal offense, forfeiting the property set forth in the Plea Agreement and the Forfeiture

19 Allegations of the Criminal Indictment and shown by the United States to have the requisite nexus to

20 the offense to which defendant REBECCA ROSAS, a.k.a. “India”, pled guilty. Criminal Indictment,

21 ECF No. 24; Change of Plea, ECF No. 63; Plea Agreement, ECF No. 64; Preliminary Order of

22 Forfeiture, ECF No. 66; Final Order of Forfeiture, ECF No. 86; Amended Final Order of Forfeiture,

23 ECF No. 149.

24           This Court finds the United States of America published the notice of forfeiture in accordance

25 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

26 from October 25, 2013, through November 23, 2013, notifying all potential third parties; and notified
        Case
         Case2:13-cr-00257-APG-PAL
               2:13-cr-00257-LDG-PAL Document
                                     Document185  Filed05/29/15
                                              183 Filed 06/03/15 Page
                                                                  Page  2 of
                                                                      2 of 54




 1 known third parties by personal service or by regular mail and certified mail return receipt requested,

 2 of their right to petition the Court. Notice of Filing Proof of Publication, ECF No. 79.

 3           Saul Candelorio Gastellum-Sanchez was personally served with the Notice and Preliminary

 4 Order of Forfeiture on June 18, 2014, by the United States Marshals Service. Notice of Filing Service

 5 of Process, ECF No. 138, p. 2-8.

 6           Jose Flores was personally served with the Notice and Preliminary Order of Forfeiture on

 7 June 18, 2014, by the United States Marshals Service. Notice of Filing Service of Process, ECF No.

 8 138, p. 9-15.

 9           Samuel Alfonso Flores was personally served with the Notice and Preliminary Order of

10 Forfeiture on June 18, 2014, by the United States Marshals Service. Notice of Filing Service of

11 Process, ECF No. 138, p. 16-22.

12           Carlos Leos was personally served with the Notice and Preliminary Order of Forfeiture on

13 June 18, 2014, by the United States Marshals Service. Notice of Filing Service of Process, ECF No.

14 138, p. 23-29.

15           Robert M. Draskovich, Jr., Attorney for Saul Candelorio Gastellum-Sanchez was personally

16 served with the Notice and Preliminary Order of Forfeiture on June 17, 2014, by the United States

17 Marshals Service. Notice of Filing Service of Process, ECF No. 138, p. 30-36.

18           Chris Allen Aaron, Attorney for Jose Flores was personally served with the Notice and

19 Preliminary Order of Forfeiture on June 17, 2014, by the United States Marshals Service. Notice of

20 Filing Service of Process, ECF No. 138, p. 37-43.

21           James A. Oronoz, Attorney for Samuel Alfonso Flores was personally served with the Notice

22 and Preliminary Order of Forfeiture on June 17, 2014, by the United States Marshals Service. Notice

23 of Filing Service of Process, ECF No. 138, p. 44-50.

24           David R. Fischer, Attorney for Carlos Leos was personally served with the Notice and

25 Preliminary Order of Forfeiture on June 18, 2014, by the United States Marshals Service. Notice of

26 Filing Service of Process, ECF No. 138, p. 51-57.

                                                        2
           Case
            Case2:13-cr-00257-APG-PAL
                  2:13-cr-00257-LDG-PAL Document
                                        Document185  Filed05/29/15
                                                 183 Filed 06/03/15 Page
                                                                     Page  3 of
                                                                         3 of 54




 1            Attempted service upon Guadalupe Arellano-Mendoza was made by the United States

 2 Marshals Service. See Special Agent Shane Nestor of the Drug Enforcement Agency’s Declaration

 3 Regarding Service of Process. Notice of Filing Service of Process, ECF No. 180.

 4            Delfino Solorzano was personally served with the Notice and Preliminary Order of Forfeiture

 5 on April 23, 2015, by the United States Marshals Service. Notice of Filing Service of Process, ECF

 6 No. 181.

 7            This Court finds no petition was filed herein by or on behalf of any person or entity and the

 8 time for filing such petitions and claims has expired.

 9            This Court finds no petitions are pending with regard to the assets named herein and the time

10 for presenting such petitions has expired.

11            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

12 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

13 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

14 32.2(c)(2) and Title 21, United States Code, Section 853(a)(1), (a)(2), and (n)(7) and shall be disposed

15 of according to law:

16                  1.      $21,675 in United States Currency; and

17                  2.      a 2003 Honda dirt bike CR250R, bearing vehicle identification number (VIN)

18                          JH2ME03363M507426.

19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

20 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

21 income derived as a result of the United States of America’s management of any property forfeited

22 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

23 / / /

24 / / /

25 / / /

26 / / /

                                                         3
        Case
         Case2:13-cr-00257-APG-PAL
               2:13-cr-00257-LDG-PAL Document
                                     Document185  Filed05/29/15
                                              183 Filed 06/03/15 Page
                                                                  Page  4 of
                                                                      4 of 54




 1          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 2 certified copies to the United States Attorney’s Office.

 3                                  June
            DATED this ___ day of ______________, 2015.

 4

 5

 6
                                                  UNITED STATES DISTRICT JUDGE
 7
                                                   LLOYD D. GEORGE
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                        4
